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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

          v.
                                                          No. 25-cv-545 (DLF)
                                                          No. 23-cr-427-1 (DLF)
 DANIEL EDWIN WILSON,

                  Defendant.


                                    MEMORANDUM OPINION

        Before the Court is the defendant’s unopposed Motion to Vacate, Set Aside, or Correct

Sentence under 28 U.S.C. § 2255. Dkt. 107. For the reasons that follow, the Court will deny the

motion.

I.      BACKGROUND

        Dan Edwin Wilson was charged with multiple offenses related to his conduct at the United

States Capitol on January 6, 2021. Second Super. Info., Dkt. 54. On May 17, 2024, Wilson pled

guilty to conspiracy to impede or injure federal law enforcement officers, in violation of 18 U.S.C.

§ 372 (the “January 6 conspiracy offense”). Plea Agreement, Dkt. 56. At the same time, he also

pled guilty to two separate and unrelated charges originating in the Western District of Kentucky

in 2022—possession of an unregistered firearm, 26 U.S.C. §§5841, 5861(d), & 5871, and felon-

in-possession, 18 U.S.C. §§ 922(g)(1) & 924(a)(2) (the “Kentucky firearm offenses”) —that were

transferred to this district. Id.

        During his plea, Wilson, a three-time convicted felon, admitted that he had illegally

possessed six firearms and 4,800 rounds of ammunition on June 3, 2022, in the Western District

of Kentucky. See Statement of Offense ¶ 32, Dkt. 59. Federal agents discovered the firearms and

ammunition when they searched Wilson’s home pursuant to their investigation of Wilson’s actions
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at the U.S. Capitol on January 6. Two of the six firearms were found loaded. Id. Three were

military-style (M-4) rifles, two without visible serial numbers. Id.

       At sentencing, the Court imposed three concurrent terms of 60 months’ imprisonment for

each of the three offenses to which Wilson pled—the January 6 conspiracy offense and the two

Kentucky firearm offenses. See Judgment, Dkt. 79. Wilson did not file a notice of appeal, and the

Court’s judgment became final on October 2, 2024. See Fed. R. App. P. 4(b)(1); United States v.

Booker, 613 F. Supp. 2d 32, 35 (D.D.C. 2009).

       On January 20, 2025, the President issued “a full, complete and unconditional pardon to

. . . individuals convicted of offenses related to events that occurred at or near the United States

Capitol on January 6, 2021.” Proclamation No. 10887, 90 Fed. Reg. 8331 (Jan. 29, 2025)

(“Presidential Pardon” or “pardon”). Shortly thereafter, Wilson was erroneously released from

custody by the Bureau of Prisons. See Gov’t Resp. at 2, Dkt. 103. Wilson then moved the Court

to stay any order from the Bureau of Prisons to re-incarcerate him until the Court could determine

whether the Presidential Pardon covered the Kentucky firearm offenses. Dkt. 100 at 2. The Court

granted Wilson’s motion. See Minute Order of January 28, 2025.

       Shortly thereafter, on February 6, 2025, the government took the position that Wilson

should return to prison because the “plain language” of the pardon does not apply to the Kentucky

firearm offenses. Gov’t Resp. at 3, Dkt. 103 (“The defendant should be returned to the custody of

the Bureau of Prisons” because the pardon only applies to “convictions for offenses related to

events that occurred at or near the United States Capitol on January 6, 2021.”). Because Wilson’s

firearms offenses did not occur at the United States Capitol on January 6, 2021, the government

asserted that the pardon does not extend to those offenses. Id. at 2.




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       The government’s position at that time was consistent with the position it had taken in other

January 6 cases.     From January 20 through February 18, the Department repeatedly and

unequivocally stated in courtrooms across the country that the “plain” and “unambiguous”

language of the pardon does not apply to criminal offenses that did not occur at or near the Capitol

on January 6. See, e.g., Gov’t Resp. at 2, Dkt. 103 (Mr. Wilson’s “[firearm] convictions . . . did

not occur at the United States Capitol on January 6, 2021, and thus, by the plain language of the

certificate, the pardon does not extend to these convictions.” (emphasis added)); United States’

Resp. to Def.’s Mot. to Vacate Jury Conviction and Dismiss Indictment at 3, United States v.

Kelley, No. 3:22-cr-118-TAV-JEM-1 (E.D. Tenn. Feb. 18, 2025) (opposing defendant’s motion to

dismiss based on the “unambiguous language of the pardon” because “[t]he crimes for which an

East Tennessee jury convicted the defendant did not occur at or near the United States Capitol on

January 6, 2021. They occurred entirely within the Eastern District of Tennessee nearly two years

later.”); United States’ Resp. in Opp’n to Appeal Pursuant to Rule 9(b) at 15–19, United States v.

Martin, No. 24-7203 (9th Cir. Feb. 14, 2025) (contending that there is no “fairly debatable

question” that “Martin’s pardon for January 6, 2021 offenses he committed in Washington, D.C.,

does not reach his separate firearms offense he committed in California at a different time.”);

United States’ Opp’n to Def.’s Mot. to Dismiss at 4, United States v. Taranto, No. 23-cr-229 (CJN)

(D.D.C. Feb. 11, 2025) (“Taranto’s actions in June 2023 in Washington, D.C., were not offenses

occurring at the U.S. Capitol on January 6, 2021 . . . [and] are wholly unrelated to the pardon for

and dismissal of charges related to January 6, 2021 at the United States Capitol.”).

       This Court agreed with the government’s reading of the pardon. On February 7, 2025, it

held that the plain language of the pardon does not cover the defendant’s Kentucky firearm

offenses. Minute Order of February 7, 2025. The Court therefore ordered Wilson to report as




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directed to the Bureau of Prisons to serve the remainder of his 60-month sentence for his firearms

convictions. Id.

       Less than two weeks later, however, the Department began to change its position. See

United States’ Resp. to Appellant’s Emergency Mot. for Relief at 3, United States v. Costianes,

No. 24-4543 (4th Cir. Feb. 19, 2025). To date, there has been limited judicial review of the

Department’s reversal in position because the government has either moved to dismiss cases under

Rule 48 of the Federal Rules of Criminal Procedure, see, e.g., United States v. Ball, No. 5:24-cr-

97 (M.D. Fla. Feb. 25, 2025) (granting motion to dismiss), or urged remand of pending appeals in

order to seek Rule 48 dismissals before district courts, see e.g. United States’ Time-Sensitive,

Unopposed Mot. to Remand for Dismissal, United States v. Brown, No. 23-11146 (11th Cir. Feb.

26, 2025); Joint Mot. to Vacate Conviction and Remand for Dismissal, United States v. Costianes,

No. 24-4543 (4th Cir. Mar. 12, 2025). See also infra pp. 13–15 and note 6. But see United States

v. Kelley, No. 3:22-cr-118-TAV-JEM-1, 2025 WL 757583, at *8–9 (E.D. Tenn. Mar. 10, 2025)

(denying defendant’s opposed motion to dismiss case as covered by pardon).

       On February 20, 2025, the defendant filed an unopposed motion to delay his surrender date

in order to “reach a resolution” with the government, which had “agreed to take another look at

the defendant’s legal situation.” See Def.’s Mot. for Ext. of Time, Dkt. 106. The Court denied the

defendant’s motion. Minute Order of February 20, 2025.

       On February 24, 2025, the defendant filed the instant 28 U.S.C. § 2255 motion seeking

vacatur of the Court’s judgment on the ground that the Presidential Pardon covers his firearms

offenses. See Def.’s § 2255 Mot. at 2–4. One day later, the government filed its response, asserting

for the first time in this case that the pardon covers Wilson’s Kentucky firearm offenses—a 180

degree turn from its earlier position. Gov’t Resp. at 2, Dkt. 108. The Department of Justice stated




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that the government’s position has changed because it “received further clarity on the intent of the

Presidential Pardon” after consulting with Department leadership. Id.

       The Court held a hearing on the defendant’s motion on February 26, 2025. At that time,

the prosecutor defending the government’s position reiterated that the Department’s about face

was based on “further clarity about the presidential intent of the pardons.” Rough Hr’g Tr. at 2:19-

20. Initially, the prosecutor did not provide a cogent articulation of the pardon’s meaning and

resisted providing any interpretation that would apply beyond the instant case. Rough Hr’g Tr. at

18:21-22 (“I just want to be careful that I’m not speaking to other cases.”); id. at 50:6-9 (“I am

speaking as to this case and we’ve discussed how it applies to these circumstances and other

circumstances. And I was very careful in our pleadings to say that under these circumstances the

pardon applies.”). When pressed, the Department eventually defined the pardon as covering

“offenses that were charged as a result of search warrants conducted as part of the January 6, 2021

investigation, for which the government did not have pre-existing evidence related to similar

offenses.” Gov’t Suppl. at 2, Dkt. 111; see also Rough Hr’g Tr. at 35. At the conclusion of the

hearing, the Court stayed its surrender order pending resolution of the instant motion. See Minute

Order of February 26, 2025. Because the government reversed its position and now agrees with

the defendant’s reading of the pardon, the Court proceeds without the benefit of adversarial

briefing.

II.    LEGAL STANDARDS

       Under 28 U.S.C. § 2255, a prisoner in custody under sentence of a federal court may move

the sentencing court to vacate the sentence on the ground that “the sentence was imposed in




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violation of the Constitution.” 1 28 U.S.C. § 2255(a). As relevant here, continued incarceration of

a prisoner who has been pardoned would infringe upon his Fifth Amendment rights and warrant

this Court setting aside its judgment. See, e.g., Barnes v. District of Columbia, 793 F. Supp. 2d

260, 274–75 (D.D.C. 2011) (holding that detention of a prisoner without an adequate reason for

detention would violate the prisoner’s due process rights).

       Article II of the Constitution grants the Executive the “Power to grant Reprieves and

Pardons for Offences against the United States.” U.S. Const. art. II § 2, cl. 1. “The Framers vested

this power in the President because it is part and parcel with the power to execute the laws and

operates as a check on the other two branches.” Andrews v. Warden, 958 F. 3d 1072, 1076 (11th

Cir. 2020). The President’s pardon power is broad and can be exercised “[s]o long as the President

does not use the power to pardon to violate another provision of the Constitution.” Id. at 1076

(first citing Schick v. Reed, 419 U.S. 256, 264, 266–67 (1927); and then citing Ohio Adult Parole

Auth. v. Woodard, 523 U.S. 272, 276 (1998)). The President’s pardon power is also exclusive—

it may not be exercised or altered by either Congress, see Schick, 419 U.S. at 266, or the Judiciary,

Ohio Adult Parole Auth., 523 U.S. at 276; see also Dennis v. Terris, 927 F. 3d 955, 959 (6th Cir.

2019) (“Courts may not alter a President’s commutation, except perhaps if the commutation itself

violates the Constitution.”).

       Courts have long exercised their authority to interpret and apply Presidential pardons. See,

e.g., In re Greathouse, 10 F. Cas. 1057, 1061 (C.C.N.D. Cal. 1864) (No. 5,741); Carlisle v. United

States, 83 U.S. 147, 153–56 (1872); Andrews, 958 F.3d at 1078. When exercising this authority,

a court’s duty is to determine the pardon’s effect without expanding or reducing its scope. United



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 Though Wilson is not presently incarcerated, he is “in custody” for the purposes of 28 U.S.C.
§ 2255. See Maleng v. Cook, 490 U.S. 488, 491 (1989).



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States v. Rhodes, No. 22-cr-15 (APM), 2025 WL 309111, at *4 (D.D.C. Jan. 27, 2025); see

Andrews, 958 F.3d at 1078. A court lacks the authority to correct or reinterpret the terms of a

pardon. See Stetler’s Case, 22 F. Cas. 1314, 1316 (C.C.E.D. Pa. 1852) (No. 13,380) (“We cannot,

by judicial construction, expand the pardon of one felony into a pardon of two.”).

        Because the text of the pardon “governs [a court’s] review,” courts use ordinary tools of

statutory interpretation to determine the meaning of a pardon. Andrews, 958 F.3d at 1078 (Pryor,

J.); see also Rhodes, 2025 WL 309111, at *3; Ex parte Weimer, 29 F. Cas. 597, 598 (C.C.E.D.

Wis. 1878) (No. 17,362). It is “sensible” for a court to defer to an agency’s interpretation of a

pardon so long as the agency’s “interpretation is not unreasonable” and “the language of the order

bears its construction.” Andrews, 958 F.3d at 1078 (Pryor, J.) (quoting Udall v. Tallman, 380 U.S.

1, 4 (1965)) (cleaned up); see also Rhodes, 2025 WL 309111, at *3.

III.    ANALYSIS

        By its terms, the plain and unambiguous language of President Trump’s pardon applies to

offenses that occurred at or near the U.S. Capitol on January 6, 2021. Nonetheless, the parties

argue that the pardon applies to Wilson’s Kentucky firearm offenses, which occurred on a different

date—June 3, 2022—and in another place—the Western District of Kentucky. This interpretation,

which the government strongly disavowed just weeks ago, contradicts the terms of the pardon and

is not entitled to deference.

        A.      The Plain Language of the Pardon

        When the language of a document with the force of law is plain, “the sole function of the

courts is to enforce it according to its terms.” United States v. Ron Pair Enters., Inc., 489 U.S.

235, 241 (1989) (cleaned up). A court may not take liberties with unequivocal language nor

“manufacture ambiguity where none exists.” United States v. Batchelder, 442 U.S. 114, 121–22




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(1979). And “if the law gives an answer—if there is only one reasonable construction of a

regulation—then a court has no business deferring to any other reading, no matter how much the

agency insists it would make more sense.” Kisor v. Wilkie, 588 U.S. 558, 574 (2019); see

Christensen v. Harris Cnty., 529 U.S. 576, 588 (2000). This principle also holds true for

Presidential pardons. So long as the language of a pardon is clear and unambiguous, courts

interpret the pardon according to its plain and ordinary meaning. See In re Greathouse, 10 F. Cas.

at 1061 (citing United States v. Wilson, 32 U.S. 150, 160–61 (1833) (Marshall, C.J.)); Stetler’s

Case, 22 F. Cas. at 1316.

       The terms of the Presidential Pardon are clear and unambiguous: it “grant[s] a full,

complete and unconditional pardon to . . . individuals convicted of offenses related to events that

occurred at or near the United States Capitol on January 6, 2021.” 90 Fed. Reg. at 8331. For an

offense to fall within its scope, it must be tethered to a specific time—January 6, 2021—and

place—at or near the U.S. Capitol. Because Wilson did not use the firearms he possessed in

Kentucky when he conspired to impede and injure officers at the Capitol on January 6, 2021, his

firearm convictions are not covered by the Presidential Pardon.

       Despite its earlier contrary position, the Department now argues that the pardon applies to

“offenses that were charged as a result of search warrants conducted as part of the January 6, 2021

investigation, for which the government did not have pre-existing evidence related to similar

offenses.” Gov’t Suppl. at 2. Wilson takes a similar approach, arguing that the pardon covers his

2022 Kentucky firearm offenses because the “convictions” for those offenses “arose from” or were

“related to” the events at the Capitol on January 6. See Def.’s § 2255 Mot. at 2. Wilson asserts

that because the search warrant which led to his arrest was based on probable cause that the search

would yield evidence linking him to the January 6 events, “but for the events of January 6,” law




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enforcement agents never would have entered his Kentucky home in 2022 and discovered the

firearms he unlawfully possessed. Id.

       The parties ground their overly broad interpretations of the pardon in its “related to” phrase.

See Gov’t Suppl. at 3; Rough Hr’g Tr. at 8; Def’s § 2255 Mot. at 2. While “related to” has a

capacious meaning, it cannot be “taken to extend to the furthest stretch of its indeterminacy . . . for

really, universally, relations stop nowhere.” N.Y. State Conf. of Blue Cross & Blue Shield Plans

v. Travelers Ins. Co., 514 U.S. 645, 655 (1995). Rather, the phrase must be understood in context.

See Mellouli v. Lynch, 575 U.S. 798, 812 (2015).

       The Presidential Pardon only applies to “certain” offenses—those “related to events that

occurred at or near the United States Capitol on January 6, 2021.” 90 Fed. Reg. at 8331. An

“offense” is a violation of the law—a crime. Offense, Black’s Law Dictionary (12th ed. 2024). In

this context, the meaning of “related to” is well-settled: it restricts the scope of the generic term

“offenses” to those “committed in certain factual circumstances.” Friedman v. Sebelius, 686 F.3d

813, 818–23 (D.C. Cir. 2012) (interpreting statutory provision that applies to “[a]ny individual or

entity that has been convicted of a criminal offense consisting of a misdemeanor relating to fraud”);

see also Nijhawan v. Holder, 557 U.S. 29, 33–36 (2009). And those factual circumstances are

tethered to a specific place and time—the events that occurred at or near the U.S. Capitol on

January 6, 2021. Accord Kelley, 2025 WL 757583, at *3 (holding “that the pardon is primarily

constrained by temporal and spatial parameters as defined by the date and location of ‘events.’”).

       The surrounding text of the pardon makes clear that “related to” denotes a specific factual

relationship between the conduct underlying a given offense and what took place at the U.S.

Capitol on January 6, 2021. For instance, the title of the Presidential Pardon—“Granting Pardons

and Commutation of Sentences for Certain Offenses Relating to the Events at or Near the United




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States Capitol on January 6, 2021,” 90 Fed. Reg. at 8331 (emphasis added)—strongly suggests

that it is the offense itself that must be related to the events of January 6. Cf. Yates v. United States,

574 U.S. 528, 539–40 (2015) (looking to the heading of a statutory provision for evidence of the

provision’s meaning). Relatedly, the pardon directs “the Attorney General to pursue dismissal

with prejudice to the government of all pending indictments against individuals for their conduct

related to the events at or near the United States Capitol on January 6, 2021.” 90 Fed. Reg. at 8331

(emphasis added). That the pardon instructs the Attorney General to exercise its prosecutorial

discretion by looking to the conduct underlying an indictment—and not the investigation which

produced that indictment—indicates that the pardon is likewise meant to apply only to defendants

convicted of January 6-related offenses—those occurring at or near the Capitol on January 6, 2021.

        The structure of the Presidential Pardon lends further support to the conclusion that it was

meant to apply to offenses factually tethered to the events of January 6, 2021, rather than to

incidental offshoots of the January 6 investigations. At the time the pardon was issued, President

Trump drew clear distinctions between certain classes of January 6 defendants. He commuted the

sentences of fourteen January 6 defendants, while issuing a full and unconditional pardon for all

other January 6 defendants. 90 Fed. Reg. at 8331. The President made no attempt to distinguish

between those January 6 defendants who were charged with additional criminal offenses—

including threats of physical violence and possession of child pornography, classified information,

explosives, and firearms, see infra pp. 13–15—as a result of the January 6 search warrants and

those who were not.

        To be sure, the “related to” language in the pardon leaves open the possibility that certain

criminal actions may be close enough in time and place to the events of January 6 so as to fall

within the pardon. But the phrase cannot extend so far as to cover any criminal offense—no matter




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how physically or temporally remote to the January 6 Capitol events—solely because some

evidence supporting the offense was recovered during a January 6 investigation. Contrary to the

pardon’s plain language and structure, the parties’ reading of the pardon conflates offenses

discovered during the January 6 investigations with offenses that occurred at or near the Capitol

on January 6. See Kelley, 2025 WL 757583, at *7 (noting that the text of the pardon does not

include offenses related solely “to the investigation of conduct occurring on January 6, 2021”).

Because Wilson’s Kentucky firearm offenses bear no relationship to the events that occurred at

the Capitol on January 6, 2021, they are not covered by the plain language of the Presidential

Pardon.

       B.      Deference is Unwarranted

       The Court need not defer to the Department’s reinterpretation of the Presidential Pardon

because the pardon’s text is clear and unambiguous. See Christensen, 529 U.S. at 588. But even

if the language of the pardon were ambiguous, the Court would not accord deference to the

Department’s most recent interpretation because it is unreasonable and does not reflect its fair and

considered judgment. See Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 153 (2012).

       The Department’s latest reinterpretation of the pardon is unreasonable because it is

unsupported by the pardon’s text. See Norfolk S. Ry. Co v. Shanklin, 529 U.S. 344, 356 (2000).

The pardon says nothing at all about evidence recovered during an investigation, much less

evidence recovered “as a result of search warrants.” Compare Gov’t Suppl. at 2 with 90 Fed. Reg.

at 8331. Nor does the pardon carve out offenses in which the government had pre-existing

evidence related to “similar offenses.” Compare Gov’t Suppl. at 2 with 90 Fed. Reg. at 8331. The

multiple qualifying clauses the Department asks the Court to add to the pardon stretch its meaning




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well beyond what its language can bear. Andrews, 958 F.3d at 1078; see also Stetler’s Case, 22

F. Cas. at 1316. 2

        Moreover, the Department’s prosecution decisions defy its broad interpretation of the

pardon’s scope. See Friedman, 686 F.3d at 820. On the one hand, the Department argues that

“related to” has a maximally capacious meaning and covers offenses charged as a result of

evidence gathered during a January 6 investigation. Rough Hr’g Tr. at 8. On the other, however,

it applies the pardon to cover only those offenses that were charged “as a result of evidence seized

in a search warrant,” as opposed to the January 6 investigation as a whole. See Rough Hr’g Tr. at

30–31. The Department further restricts the pardon’s scope by excluding offenses for which the

government had “pre-existing evidence,” even if that evidence related to a distinct (though similar)

offense. See Rough Hr’g Tr. at 21–23, 35 (explaining that pardon does not cover a child

pornography offense because government had preexisting evidence of a child exploitation, but not

child pornography, offense); Gov’t Suppl. at 2. These selective applications of the pardon

undermine the reasonableness of the Department’s position.

        Apart from being unreasonable, the Department’s current interpretation diverges sharply

from its previous position, is being inconsistently applied, and appears to be a post hoc

rationalization advanced to support its ongoing litigating positions. A change in interpretation that

is not based on a well-grounded explanation does not reflect a “fair and considered judgment on

the matter in question.” Christopher, 567 U.S. at 155. In such circumstances, deference is



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  To the extent that the government adopts Wilson’s formulation, see Rough Hr’g Tr. at 13, it
likewise adds words—“convictions” and “arising from”—that do not exist within the pardon’s
text. Compare Def.’s § 2255 Mot. at 2 with 90 Fed. Reg. at 8331; see 62 Cases, More or Less,
Each Containing Six Jars of Jam v. United States, 340 U.S. 593, 596 (1951) (a court is “neither
to add nor to subtract, neither to delete nor to distort” the words of a document with the force of
law).



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unwarranted. See Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 212–13 (1988); cf. Auer v.

Robbins, 519 U.S. 452, 462 (1997).

       From January 20, when the President issued the pardon, through February 18, the

Department stated repeatedly and unequivocally in courts across the country that the pardon does

not cover offenses that were charged based on evidence gathered as a result of a January 6-related

search warrant. See supra p. 3. But on February 25, the government abruptly reversed its position

in this case, with virtually no explanation, and reinterpreted the pardon to mean the opposite. Gov’t

Resp. at 2, Dkt. 108. The Department insists that its current interpretation is entitled to deference

because “indicia of Presidential intent” support its position, Gov’t Suppl. at 2–3 (citing Robertson

v. Gibson, 759 F.3d 1351, 1357–58 (Fed. Cir. 2014)). 3 But those “indicia” appear to stem from

decisions the Department has made to dismiss certain cases, rather than from any clear expression

of the President’s intent. Gov’t Resp. at 2, Dkt. 108.; Rough Hr’g Tr. at 13.

       In cases across the country, the Department appears to be shifting positions, making

decisions about the scope of the pardon, as it sees fit. Although the government now asserts that

the pardon is intended to cover offenses charged as a result of evidence obtained during a January

6-related search, Rough Hr’g Tr. at 23–24, its prosecution decisions show otherwise. Firearm,

explosive, and classified information offenses are being dropped as a result of the Presidential



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  Contrary to the position the Department took at the hearing, see Rough Hr’g Tr. at 46,
Robertson does not stand for the proposition that the meaning of a “full pardon” cannot be
resolved on the basis of the pardon’s plain language alone. In Robertson, the Federal Circuit
looked beyond the plain language of the pardon at issue because the language of the pardon itself
required that inquiry. See Robertson, 759 F.3d at 1357–58. The Court noted that the phrase “full
pardon” was subject to two limiting phrases that “strongly suggest[ed] that Mr. Robertson’s ‘full
pardon’ must be read in the context of the clemency program described by Presidential
Proclamation 4313.” Id. Here, however, no language in the Presidential Pardon at issue
suggests that the Court must look outside of the pardon’s text to ascertain its meaning.




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Pardon, see, e.g., United States v. Brown, No. 23-11146 (11th Cir.), while otherwise similar child

pornography offenses are not, see, e.g., United States v. Daniel, No. 3:24-cr-209 (W.D.N.C.);

United States v. Colton, No. 2:24-cr-29-DAD (E.D. Cal.).

       The Department’s proffered justifications for the varying positions it has taken in cases

across the country are not borne out by the record. As noted, the government defended its

continued prosecution of a child pornography case in one district on the ground that some of the

evidence in support of that prosecution came from a preexisting child exploitation (but not child

pornography) investigation. Rough Hr’g Tr. at 21–23; see United States v. Daniel, No. 3:24-cr-

209 (W.D.N.C.). At the same time, however, court records show that the government continues

to prosecute a child pornography case in another district, even though the evidence in support of

those child pornography charges allegedly arose solely from evidence seized as a result of a

January 6 search warrant. See United States’ Opp’n to Colton’s Mot. to Suppress at 1–7, United

States v. Colton, No. 2:24-cr-29-DAD (E.D. Cal. Oct. 11, 2024). And in another January 6 case,

the government has argued that a defendant’s convictions for various unrelated felonies, including

possession of classified information, are covered by the pardon, see Rough Hr’g Tr. at 33–34, even

though the government was aware of information related to the classified information offense

before it conducted the January 6 search of the defendant’s home, see United States’ Sentencing

Mem. at 5–6, United States v. Brown, No. 8:21-cr-348 (M.D. Fla. Mar. 24, 2023) (describing Air

Force Office of Special Investigations’ previous investigation of the defendant regarding the same

classified information).

       During the hearing in this case, the government justified its continued prosecution of

another January 6 defendant charged with a plot to murder January 6 investigators on the ground

that the defendant’s “conduct was completely different from the events of January 6th of 2021”




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and was “the product[] of the defendant’s independent volitional acts.” Rough Hr’g Tr. at 30:15-

16; United States’ Suppl. Resp. to Def.’s Mot. to Vacate Jury Conviction and Dismiss Indictment

at 1, United States v. Kelley, No. 3:22-cr-118-TAV-JEM-1 (E.D. Tenn. Feb. 26, 2025). But that

is true of all of the above defendants, as well as Wilson. A defendant cannot be guilty of unlawfully

possessing explosives, classified information, child pornography, firearms, or other contraband

without having engaged in intentional and “independent volitional acts.”

       In addition to applying the pardon inconsistently, the government appears to be intent on

preserving its ability to take a different position in the future. See Rough Hr’g Tr. at 30. During

the motions hearing, the prosecutor was reluctant to take any position before this Court that would

affect future cases, including ones actively being litigated. Id. at 30:6-11, 18:21-22, 50:6-9. But

the meaning of a pardon cannot change after the pardon issues. Cf. United States v. Santos, 553

U.S. 507, 522 (2008) (“[T]he meaning of words in a statute cannot change with the statute’s

application. To hold otherwise would render every statute a chameleon . . . .” (cleaned up)).

Determinations about the scope of a pardon are made before, not after, its issuance.

       Historically, as here, Presidents have issued broad pardons to cover large groups of

similarly situated defendants. 4 But such broadly-worded pardons clearly define the class of



4
  See, e.g., James Madison, Proclamation No. 19 (Feb. 6, 1815), in 1 A Compilation of the
Messages and Papers of the Presidents 1789–1897, at 558–60 (James D. Richardson ed., 1897)
(pardoning all inhabitants of New Orleans and the island of Barratria for “all offences committed
in violation of any [act of Congress] touching the revenue, trade, and navigation thereof or
touching the intercourse and commerce of the United States with foreign nations at any time
before” January 8, 1815); Abraham Lincoln, Proclamation No. 108, 13 Stat. 737 (Dec. 6, 1863)
(granting a full pardon “to all persons who have, directly or by implication, participated in the
existing rebellion, except as hereinafter excepted”); Harry S. Truman, Proclamation No. 2676, 10
Fed. Reg. 15409 (Dec. 24, 1945) (pardoning certain World War II veterans “convicted of
violation of any law of the United States or the Territory of Alaska, other than the laws for the
government of the Army and Navy” prior to their enrollment in the armed services); Jimmy
Carter, Proclamation No. 4483, 42 Fed. Reg. 4391 (Jan. 24, 1977) (pardoning “all persons who



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individuals and the types of offenses covered by the pardon. See Amnesty—Power of the

President, 20 Op. Att’y Gen. 330, 331–32 (1892) (Taft, William H.) (concluding that the President

may issue a broad pardon to a class of defendants “without naming them, but describing them as

persons committing, or participating in, the same kind of offenses” so long as the pardon is

“sufficiently definite with respect to the beneficiaries by a description other than by name”). And

in those rare circumstances in which a pardon has been genuinely susceptible to multiple readings,

Presidents have issued clarifying proclamations. See, e.g., Abraham Lincoln, Proclamation No.

111 (Mar. 26, 1864), in 6 A Compilation of the Messages and Papers of the Presidents 1789–1897,

at 217–18 (clarifying that Proclamation No. 108 does not apply to prisoners but only to those “at

large and free from any arrest, confinement, or duress”). The President did not do so here.

       Instead, he issued a broad proclamation that divides the class of January 6 defendants into

two groups—a large group that was fully pardoned for “offenses related to events at or near the

United States Capitol on January 6, 2021,” 90 Fed. Reg. at 8331, and a smaller set of fourteen

named individuals whose sentences were merely commuted. The pardon does not separately

identify January 6 defendants who were charged with additional unrelated offenses that merely

“arose out” of the January 6 investigations, Def.’s § 2255 Mot. at 2. And, despite questions raised

by numerous courts, 5 the President has not issued a clarifying proclamation that states that the

pardon is intended to cover some (or all) of those “offenses that were charged as a result of search

warrants conducted as part of the January 6, 2021 investigation,” Gov’t Suppl. at 2. Nor has the



may have committed any offense between August 4, 1964 and March 28, 1973 in violation of the
Military Selective Service Act”).
5
 See, e.g., Rough Hr’g Tr. at 6–7; Oral Argument at 23:00, United States v. Brown, No. 23-
11146 (11th Cir. Mar. 6, 2025), https://www.ca11.uscourts.gov/system/files_force/
oral_argument_recordings/23-11146_03062025.mp3; Order, United States v. Costianes, No. 24-
4543 (4th Cir. Feb. 27, 2025).


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President, or anyone else connected with the pardon drafting process, provided a declaration or

other clear expression of his intent. Individual prosecutors’ representations in court regarding

unspecified “recent clarity,” Gov’t Suppl. at 2, are not an adequate substitute. Cf., e.g., United

States v. Navarro, 651 F. Supp. 3d 212, 224 (D.D.C. 2023) (defendant could not make out a claim

that the President privately invoked executive privilege when such claim was unsupported by any

sworn affidavit or testimony and rested entirely on counsel’s representations).

       To interpret the Presidential Pardon to apply to any type of offense—no matter when or

where that offense was committed—simply because evidence of that offense was uncovered

incident to a January 6-related search warrant would “def[y] rationality.” United States v. Cook,

594 F.3d 883, 891 (D.C. Cir. 2010). That might explain why the Department has incorporated a

myriad of qualifying clauses into the pardon’s text to ensure that certain cases—like those

involving child pornography and murder plots, see supra pp. 13–15—are not covered by the

President’s grant of clemency. In any case, the Department’s inconsistent litigating positions and

its unwillingness 6 (and perhaps inability) to express a clear and stable interpretation of the pardon

leads the Court to conclude that its current position is a “post hoc justification adopted in response

to litigation.” See City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1242 (9th Cir. 2018)

(quoting Decker v. Nw. Envtl. Def. Ctr., 568 U.S. 597, 614 (2013)); cf. C.I.R. v. Schleier, 515 U.S.

323, 334 n.7 (1995) (“In view of the Commissioner's differing interpretations of her own


6
  The recent proceedings in United States v. Costianes, No. 24-4543 (4th Cir.), are illustrative.
There, the Fourth Circuit ordered supplemental briefing on the applicability of the pardon to the
defendant’s firearm conviction, see Order, United States v. Costianes, No. 24-4543 (4th Cir. Feb.
27, 2025), after the Department sought vacatur of the conviction based on the pardon, see United
States’ Resp. to Appellant’s Emergency Mot. for Relief, supra p. 4, at 1–5. Despite the Fourth
Circuit’s order, the government declined to answer the court’s questions because it “determined
that the more efficient and prudent course—and the one most consistent with President Trump’s
instructions—is to move to vacate Mr. Costianes’s conviction and dismiss the indictment under
Rule 48(a),” see Joint Mot. to Vacate Conviction and Remand for Dismissal, supra p. 4, at 2.



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regulation, we do not accord her present litigating position any special deference.”); Bowen, 488

U.S. at 211–12. Because the Department’s latest interpretation of the Presidential Pardon lacks a

reasoned basis and is not a fair and considered judgment of the pardon’s scope, see Christopher,

567 U.S. at 153, the Court accords no deference to the Department’s current litigating position.



                                                 ***

       The Constitution grants the President the exclusive and broad authority to pardon an

individual for any and all criminal offenses. This case is not about the reach of that power—

President Trump unquestionably has the authority to pardon Wilson for all of his convictions. That

authority is clear and virtually unreviewable.

       The issue before this Court is whether the language of the Presidential Pardon related to

the January 6, 2021 Capitol events covers Wilson’s 2022 Kentucky firearm offenses. It does not.

By moving to expand the Presidential Pardon beyond any reasonable interpretation, the parties ask

this Court to exceed its constitutional authority. President Trump alone has the constitutional

authority to pardon Wilson for all of his crimes. He still may do so. But this Court cannot—it is

duty bound to enforce the Presidential Pardon as written.




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                                        CONCLUSION

       For the reasons stated, the defendant’s Motion to Vacate, Set Aside, or Correct Sentence

under 28 U.S.C. § 2255, Dkt. 107, is denied. A separate order consistent with this decision

accompanies this memorandum opinion.




                                                           ________________________
                                                           DABNEY L. FRIEDRICH
                                                           United States District Judge
March 13, 2025




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